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    December 2, 2024


    BY CM/ECF AND HAND DELIVERY
    The Honorable Gregory B. Williams
    United States District Court for the District of Delaware
    J. Caleb Boggs Federal Building
    844 N. King Street - Unit 38
    Room 4104
    Wilmington, DE 19801

    Re:     Realtek Semiconductor Corporation v. Avago Technologies International Sales PTE.
            Ltd. et al.; C.A. No. 24-1235-GBW

    Dear Judge Williams:

           Enclosed as Exhibit A, please find the transcript of the November 25, 2024 Conference,
    during which Realtek fulfilled its obligations regarding Federal Rule of Civil Procedure 26(f).
    Also, enclosed as Exhibit B, is the email to which the parties referred during the conference.

           Counsel is available at the Court’s convivence should Your Honor need any additional
    information.

    Respectfully submitted,

    /s/ Megan E. Hunt

    Megan E. Hunt (No. 6569)

    cc: All counsel of record (via CM/ECF)




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